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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                   Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                                Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,               Magistrate Judge Scott D. Johnson

         Defendant.



                                     NOTICE OF APPEAL

       Defendant Nancy Landry, in her official capacity as Secretary of State of Louisiana, hereby

gives notice of appeal from the Court’s February 8, 2024 Order [Rec. Docs. 233 and 234] and all

other orders ancillary, related, and precedent thereto, to the United States Court of Appeals for the

Fifth Circuit. See Dickinson v. Auto Ctr. Mfg. Co., 733 F.2d 1092, 1102 (5th Cir. 1983). This

appeal is brought pursuant to 28 U.S.C. § 1291 and § 1292(a)(1).

       Respectfully submitted, this the 19th day of February, 2024.

                                               /s/ Phillip J. Strach
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 19th day of February, 2024, the foregoing has been filed with

the Clerk via the CM/ECF system that has sent a notice of electronic filing to all counsel of record.


                                                       /s/ Phillip J. Strach
                                                       Phillip J. Strach*




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